Case 2:10-cv-00106-LRH-VCF Document 499-11 Filed 09/18/14 Page 1 of 7




             EXHIBIT K
                   Case 2:10-cv-00106-LRH-VCF Document 499-11 Filed 09/18/14 Page 2 of 7

     BINGHAM


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                            thomas.hixson@bingham.com



                            July 24, 2014

                            Via E-Mail

                            Robert H. Reckers
                            Shook, Hardy & Bacon LLP
                            JPMorgan Chase Tower
                            600 Travis Street, Suite 3400
                            Houston, TX 77002-2926

                            Re: Oracle USA, Inc., et al. v. Rimini Street, Inc. and Seth Ravin,
                                No. 2:10-cv-0106 LRH PAL (D.Nev.)

                            Dear Rob:

                            I write in response to your June 17, 2014 letter and as part of our continuing
                            discussion about supplemental discovery.

                            Rule 30(b)(6) deposition. As a preliminary matter, we do not think it is
                            appropriate to condition the agreed-upon Rule 30(b)(6) deposition of Mr. Benge
                            on the completion of Oracle's production of documents requested by Rimini.
                            While Oracle made substantial productions on June 20 and July 8 in response to
                            Rimini's requests and is working diligently to complete its production, the
                 Beijing
                            deposition of Mr. Benge is unrelated to the supplemental discovery that Rimini
                 Boston
               Frankfurt
                            has sought from Oracle. Oracle is prepared to depose Mr. Benge as soon as
                Hartford    Rimini completes its supplemental production, including some items noted below,
             Hong Kong      and Oracle has the opportunity to review it.
                 London
            Los Angeles
               New York
                            Regarding Oracle's requests for supplemental discovery:
         Orange County
          San Francisco     Missing Contract Documents
          Santa Monica
          Silicon Valley    Oracle appreciates Rimini's supplemental production of customer contract
                   Tokyo
            Washington
                            documents. However, after reviewing the production, it appears to be missing
                            certain documents. Specifically, statements of work and/or the entire agreement
                            are missing for the following customers that appear on Rimini's customer list:
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Three Embarcadero Center
       San Francisco, CA
             94111-4067


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                Case 2:10-cv-00106-LRH-VCF Document 499-11 Filed 09/18/14 Page 3 of 7




                         Robert H. Reckers
                         July 24, 2014
                         Page 2


                             Rimini Customer Name           Missing Contract Documents
                         Blue Coat Systems, Inc.            Statement of Work Nos. 1-2
                         Campbell Soup Company              Statement of Work No. 2
                         City of Santa Monica, California   Statement of Work No. 3
                         Express Scripts Holding
                         Company                            Statement of Work Nos. 2 & 4
                         Giant Eagle, Inc.                  Statement of Work Nos. 3-4
                         Kellogg Brown & Root, LLC          Statement of Work No. 1
                         NAGRAVISION SA                     Statement of Work Nos. 1-2
                         The New York Times Company         Statement of Work No. 2
                         Toyota Belgium, NV/SA              Statement of Work Nos. 1-4
                         UCI International                  Statement of Work Nos. 1-2
                         USEC                               Statement of Work No. 1
                         World Vision Canada                Statement of Work No. 1
                         WWRD US, LLC                       Entire agreement


                        In addition, Rimini produced a contract amendment United Biscuits (UK) Limited,
                        but did not produce the underlying contract or include this customer on
                        RSI06806783 (Rimini's customer list).

                        Further, Oracle's review of Rimini's production indicates that certain customers
                        appear on RSI06806782 (Rimini's reported revenue by customer), but they do not
                        appear on RS106806783 (Rimini's customer list). Except for 3M Company's
                        contract documents related to support for JDE, Oracle has not been able to locate
                        Rimini contract documents for those customers. The customers for which the
                        contract documents are missing are listed below by name and product line.

                                              Rimini Customer Name                          Product Line
                         Agri Beef Co.                                                     PeopleSoft
                         Amica Mutual Insurance Company                                    PeopleSoft
                         AON Australia                                                     PeopleSoft
                         Artel Video Systems                                               JDE
                         Atterro, Inc.                                                     PeopleSoft
                         BBU, Inc.                                                         PeopleSoft
                         Bemis Company, Inc.                                               PeopleSoft
                         BI Worldwide                                                      PeopleSoft
                         California Physicians Service d/b/a Blue Shield of CA             PeopleSoft



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                Case 2:10-cv-00106-LRH-VCF Document 499-11 Filed 09/18/14 Page 4 of 7




                        Robert H. Reckers
                        July 24, 2014
                        Page 3


                                               Rimini Customer Name                       Product Line
                         Canadian Tolling Company International, Inc.                    PeopleSoft
                         Community Development Commission of the County of Los
                         Angeles                                                         PeopleSoft
                         Conseillers en gestion et Infortmatique CGI, Inc.               PeopleSoft
                         DMD Data Systems, Inc. (Lexington Fayette Co. Gov't)            PeopleSoft
                         DRI Companies                                                   JDE
                         East Coast Millworks Distributor, Inc.                          JDE
                         Epicor Software Corporation                                     Siebel
                         F. Hoffman Laroche AG                                           Siebel
                         GE Intelligent Platforms, Inc.                                  Siebel
                         HGST, Inc.                                                      PeopleSoft
                         Interpark Holdings LLC                                          PeopleSoft
                         Jacobs Technology, inc.                                         PeopleSoft
                         Journal Communications, inc.                                    PeopleSoft
                         JS Information Systems Ltd.                                     Siebel
                         LA Community & Technical College System                         PeopleSoft
                         Lee Hecht Harrison                                              JDE
                         Provincial Health Services Authority                            PeopleSoft
                         QVC Deutschland Inc. & Co. KG                                   Siebel
                         QVC Italia SRL                                                  Siebel
                         QVC, Inc.                                                       PeopleSoft
                         Randstad Professionals US, LP                                   PeopleSoft
                         Rio Tinto Canada Management, Inc.                               PeopleSoft
                         RockTenn CP, LLC                                                PeopleSoft
                         Samsonite, LLC                                                  JDE
                         Santa Clara Water District                                      PeopleSoft
                         SIX Group Services AG                                           Siebel
                         Talbots, Inc.                                                   PeopleSoft
                         The School District of Kansas City Missouri                     JDE
                         Veolia Energy                                                   PeopleSoft
                         Washtenaw County                                                JDE


                        Finally, Rimini produced numerous contract amendments for its newly identified
                        customers that purport to alter the contract terms regarding Rimini's access to




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               Case 2:10-cv-00106-LRH-VCF Document 499-11 Filed 09/18/14 Page 5 of 7




                        Robert H. Reckers
                        July 24, 2014
                        Page 4


                        Software. See RSI06806204. However, we have not located any such
                        amendments for previously disclosed customers.

                        Please update your customer list and produce the missing contract documents for
                        the customers identified above or identify them in Rimini's production if you
                        believe Rimini has already produced the requested documents.

                        Oracle's Further Discovery Requests

                        Oracle has substantially completed its review of Rimini's supplemental
                        productions, and it requests that Rimini produce the following documents. These
                        items are either updates due to the passage of time and/or concern Rimini's
                        claimed new development process. For ease of reference we also include here
                        items we have previously mentioned to which we have not received a response:

                           1. Documentation relating to revised development processes for PeopleSoft
                              tax and regulatory updates, as described in your April 23, 2014 letter and
                              Nitin Jindal's June 18, 2014 letter to you. To date, Rimini has produced
                              only the source code for certain tools apparently used in the development
                              process.

                           2. Updated financial information, as described in Nitin Jindal's June 18,
                              2014 letter to you. In addition to the issues identified in his letter, we have
                              discovered that Rimini's prior and updated financial productions do not
                              include revenue data by customer or product line for all of 2011. Rimini's
                              prior production only included actual revenue data through September
                              2011, and Rimini's updated production starts in January 2012. Please
                              update RSI06806782 and RSI06806787 with the missing data.

                           3. Documents regarding Rimini's recently filed prospectus, as described in
                              Nitin Jindal's June 18, 2014 letter to you.

                           4. Communications between Rimini representatives and any new customers
                              regarding the issues in this lawsuit.

                           5. Updated versions of Exhibits 1A, 1B, 1C, D, and 4 to Rimini's response to
                              Interrogatories 20-22. The documents Rimini produced in its
                              supplemental production include information related to these documents,
                              but omit key information that was included in earlier versions of these
                              documents.

                           6. An updated version of Ex. C to Rimini's response to Interrogatory 17.



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                Case 2:10-cv-00106-LRH-VCF Document 499-11 Filed 09/18/14 Page 6 of 7




                        Robert H. Reckers
                        July 24, 2014
                        Page 5


                            7. Any environment build requests for PSFT, JDE, or Siebel environments
                               created since Rimini's last production of environment build requests.

                           8. An updated list of PeopleSoft updates Rimini has provided from 2011 on.

                           9. Access to Rimini's Devtrak system.

                           10. Copies of all PeopleSoft fixes and updates Rimini has developed since its
                               last production, along with copies of their internal development and
                               staging-area folders.

                           11. Copies of Rimini's rsiAFWRequest, rsi jntranet_wss3, and PTrackDB8
                               databases, and of the RSIAutoFramework.ini file.

                           12. Updated Juniper, vCenter, and Netwrix logs.

                           13. Updated FTP server logs.

                           14. Copies of log files returned to Rimini from client systems as part of the
                               new PeopleSoft fix/update development and distribution system, such as
                               those apparently sent to Rimini's FTP server in the folder
                               ToRSI\OutputReturn\

                           15. Copies of the following database tables apparently used in connection with
                               the new PeopleSoft fix/update development and distribution system:
                               rsiRequestData, rsiReturnData, rsiRequestTbl, rsiRequestTblStatus,
                               andrsiRequestAll

                        Regarding Rimini's requests for supplemental discovery:

                        Oracle's Fee Assessments and Audits

                        You write that "Rimini is asking that Oracle produce documents that were created
                        after the close of discovery that are within the scope of its previous discovery
                        requests." The time for determining the scope of Rimini's previous discovery
                        requests passed long ago, and during that time Rimini never raised the issue of
                        any fee assessments or audits. Oracle will not agree to use this supplemental
                        discovery exercise to allow Rimini to seek new categories of documents that are
                        not called into issue by events that occurred after the close of fact discovery.
                        However, if there are specific "fee assessment or audit" documents that were
                        previously produced and that you would like updated versions of to account for
                        the passage of time, Oracle will evaluate such requests.



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                Case 2:10-cv-00106-LRH-VCF Document 499-11 Filed 09/18/14 Page 7 of 7




                         Robert H. Reckers
                         July 24, 2014
                         Page 6



                         Oracle's Settlement Agreement with CedarCrestone

                         Oracle disagrees that the settlement agreement falls within the scope of Rimini's
                         prior requests. Regardless of that disagreement, the terms of the settlement
                         agreement require Oracle to keep the agreement confidential except as required
                         by law. Since fact discovery closed long ago and the parties are conducting this
                         supplemental discovery informally without the Court re-opening fact discovery,
                         there is no operative legal requirement that would permit Oracle to disclose the
                         settlement agreement. Therefore, Oracle simply cannot produce its settlement
                         agreement with CedarCrestone.

                         Oracle's Representatives' Contact with Rimini Customers

                         We reiterate that on our May 5, 2014 meet and confer call, you agreed to limit
                         your request to non-privileged talking points regarding Rimini that may have been
                         provided to Oracle sales and support representatives. Based on your statement,
                         Oracle began searching for non-privileged documents fitting that description. In
                         any event, your new request for "any actual communications" between Oracle and
                         Rimini customers is too burdensome. Rimini has several hundred customers,
                         including 100 newly disclosed customers, and searching for all communications
                         with them could involve searching the custodial files of a large number of Oracle
                         employees. We do not think that is reasonable under the circumstances.
                         However, we are willing to meet and confer with you concerning a reasonable
                         search for relevant documents.

                         We would like to meet and confer with you next week concerning the points
                         raised in this letter and the scheduling of a Rule 30(b)(6) deposition. I will email
                         you to propose a time.

                         Sincerely yours,



                                              At
                        —.----------
                                1
                         Thomas S. Hixson




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